28 F.3d 1209
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Brenda B. FORD, Plaintiff Appellant,v.Frank B. KELSO, Admiral, Acting Secretary of the Navy,Defendant Appellee.
    No. 94-1264.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1994.Decided July 15, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Edward S. Northrop, Senior District Judge.  (CA-93-1499-N).
      Brenda S. Ford, Appellant Pro Se.
      Juliet Ann Eurich, Baltimore, MD.
      D.Md.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing her civil action alleging discrimination on the basis of race and handicap.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Ford v. Kelso, No. CA-93-1499-N (D. Md. Jan. 25, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We deny Appellant's motion for the appointment of counsel
      
    
    